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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Criminal No. 21-CR-0575 (EGS)
                                               :
DAVID JOHN LESPERANCE                          :
CASEY CUSICK                                   :
JAMES VARNELL CUSICK JR.                       :



                                         STATUS REPORT

       Pursuant to the Court’s Minute Orders of November 30, and December 1, 2021, undersigned

counsel proposes that by February 1, 2022, she believes she should be able to complete a conflicts

evaluation and prepare a written report and recommendation to the Court regarding whether John

Pierce’s representation of David John Lesperance, Casey Cusick and James Varnell Cusick, Jr., in

this matter creates a conflict between any of them and Mr. Pierce, and if so, whether the codefendants

can waive any conflict that may exist.

       By way of explanation for the February 1, 2022, proposed date, undersigned counsel states

that her preliminary review of the relevant Rules of Professional Conduct, i.e., Rule 1.7 (Conflict of

Interest: General Rule), and Rule 1.8 (Conflict of Interest: Specific Rules) will necessitate her

speaking directing with each David John Lesperance, Casey Cusick, and James Varnell Cusick, Jr.,

as well as with John Pierce with respect to his compensation for representing he three co-defendants

in the above-captioned matter. See, Rule of Professional Conduct 1.8 (e) (regarding compensation

from someone other than the client being represented). As such, undersigned counsel anticipates

needing contact information for each David John Lesperance, Casey Cusick, and James Varnell

Cusick, Jr., as well as for John Pierce. Moreover, because each of the three co-defendants is a
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represented party and undersigned counsel will need to speak with them regarding the matter in which

they are represented, undersigned counsel respectfully requests an Order from the Court authorizing

such direct communication with represented parties regarding the matters in which they are

represented so as not to run afoul of Rule of Professional Conduct 4.21 and further respectfully

requests an Order authorizing the Pretrial Services Agency to disclose contact information for each

of the three co-defendants to undersigned counsel.

        Finally, as further explanation for the request that her written report and recommendation to

the Court not be due before February 2022, undersigned counsel states that although she was

contacted about this matter on November 12, 2021, she was not directly informed that she actually

had been appointed. Rather, only on December 9, 2021, when she happened to look at the docket in

this case on PACER did undersigned counsel realize that she had, in fact, been appointed as conflict

attorney in this matter. As a result, undersigned counsel did not devote any time to her duties as

conflict counsel in the ten days between the November 30, 2021, minute order and December 9,

2021, when she first learned she had been appointed. Additionally, between January 4 and 21,

2022, undersigned counsel is committed to be out of the jurisdiction teaching a trial practice

course in the January intersession term at Harvard Law School, and so will have limited time to

devote to the conflict issue, and during those weeks in January also has a filing obligation in

another case in the United States District Court for the District of Columbia in anticipation of a

hearing in that case on January 28.



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 Rule 4.2: Communication Between Lawyer and Person Represented by Counsel: (a) During the
course of representing a client, a lawyer shall not communicate or cause another to communicate about
the subject of the representation with a person known to be represented by another lawyer in the matter,
unless the lawyer has the prior consent of the lawyer representing such other person or is authorized by
law or a court order to do so. (emphasis supplied).

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Dated: December 10, 2021                     Respectfully submitted,

                                             s/Santha Sonenberg
                                             ___________________________________
                                             Santha Sonenberg (D.C. Bar No. 376-188)
                                             (202) 494-7083
                                             santhasonenberg@yahoo.com


                                   CERTIFICATE OF SERVICE

        Notwithstanding the automatic service of pleadings by the electronic case filing system
(ECF), out of an abundance of caution this is to certify that on December 10, 2021, a copy of the
foregoing Status Report has been delivered by electronic mail to Anne P. McNamara at
anne.mcnamara2@usdoj.gov, Assistant United States Attorney, Office of the United States
Attorney, 555 Fourth Street, N.W., Washington, D.C. 20001 but because she has been unable to
locate contact information for John Pierce, has been unable to serve the foregoing status report
on John Pierce.

                                                    s/ Santha Sonenberg
                                                    ________________________________
                                                    Santha Sonenberg




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